          Case 1:22-cr-00116-CJN Document 23 Filed 06/30/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :      Case No.: 22-cr-116 (CJN)
                   v.                         :
                                              :
DAVID JOSEPH GIETZEN,                         :
                                              :
                        Defendant.            :

       MOTION FOR AN ORDER TO DISCLOSE ITEMS PROTECTED BY
   FEDERAL RULE OF CRIMINAL PROCEDURE 6(e) AND SEALED MATERIALS

        The United States of America respectfully moves for entry by this Court of an order

permitting the disclosure in discovery of materials protected by Federal Rule of Criminal

Procedure 6(e). The United States also requests permission to provide in discovery sealed

materials, pursuant to the protective order governing discovery in this matter. Finally, the United

States requests that any order granting this motion be made applicable to co-defendants who may

later be joined.

        The United States conferred with counsel for the defendant regarding this motion and

counsel for the defendant does not oppose the motion.
          Case 1:22-cr-00116-CJN Document 23 Filed 06/30/22 Page 2 of 2




       WHEREFORE, the United States respectfully requests an order authorizing the

disclosure in discovery of the materials described above.


                                                    Respectfully submitted,

                                                    MATTHEW M. GRAVES
                                                    United States Attorney
                                                    D.C. Bar No. 481052

                                             By:    /s/ Elizabeth N. Eriksen
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